                       Exhibit A




Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 1 of 21 PageID #: 7
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 2 of 21 PageID #: 8
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 3 of 21 PageID #: 9
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 4 of 21 PageID #: 10
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 5 of 21 PageID #: 11
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 6 of 21 PageID #: 12
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 7 of 21 PageID #: 13
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 8 of 21 PageID #: 14
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 9 of 21 PageID #: 15
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 10 of 21 PageID #: 16
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 11 of 21 PageID #: 17
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 12 of 21 PageID #: 18
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 13 of 21 PageID #: 19
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 14 of 21 PageID #: 20
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 15 of 21 PageID #: 21
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 16 of 21 PageID #: 22
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 17 of 21 PageID #: 23
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 18 of 21 PageID #: 24
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 19 of 21 PageID #: 25
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 20 of 21 PageID #: 26
Case 1:21-cv-00317-DCLC-CHS Document 1-1 Filed 12/27/21 Page 21 of 21 PageID #: 27
